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                               UNITED STATES DISTRICT COURT
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                                      DISTRICT OF NEVADA
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      DARIO RODRIGUEZ,                               Case No. 2:16-cv-00629-JCM-VCF
9
                                       Petitioner,
10           v.                                                      ORDER
11
      E.K. McDANIEL, et al.,
12
                                   Respondents.
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15          This is a habeas corpus proceeding under 28 U.S.C. § 2254 in which this court
16   entered a final judgment against the petitioner on May 3, 2016. ECF No. 4. On
17   November 22, 2016, the Ninth Circuit of Appeals denied a certificate of appealability.
18   ECF No. 14. On April 23, 2019, the Ninth Circuit of Appeals denied petitioner’s petition
19   for writ of mandamus. ECF No. 34.
20          Petitioner continues to file motions and send letters to the court requesting
21   copies of documents and/or claiming that he was not notified of orders entered in this
22   case. With respect to the copy requests, it is unclear, in most instances, what specific
23   documents he is requesting. With respect to notification, a review of the docket
24   indicates that every order entered in this case was mailed to petitioner’s address of
25   record at the time. Even so, the court directs the Clerk to send petitioner copies of the
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           Case 2:16-cv-00629-JCM-VCF Document 43 Filed 09/25/20 Page 2 of 2




1    documents entered at ECF Nos. 16-21, 23-26 and 28. The Clerk shall also send

2    petitioner a copy of the mail receipt for the order entered on July 3, 2017 (ECF No. 21).

3          Petitioner’s pending motions (ECF No. 36, 40) are denied for lack of clarity. The

4    court will entertain no future motions in this case. See ECF Nos. 21/31.

5          IT IS SO ORDERED.

6                September
           DATED THIS      25,of2020.
                      ___ day    ________, 2020.

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8                                                    UNITED STATES DISTRICT JUDGE
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